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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                   EASTERN DIVISION

United States of America,                      )
                                               )
                       Plaintiff,              )       ORDER GRANTING MOTION TO
                                               )       CONTINUE TRIAL
       vs.                                     )
                                               )       Case No. 3:24-cr-122
Kadar Udai Pearson,                            )
                                               )
                       Defendant.              )


       Defendant Kadar Udai Pearson moves to continue trial. Doc. 24. Trial is set to begin on

October 8, 2024. Defense counsel requests a continuance to further investigate, review discovery and

prepare for trial. Pearson consents to the continuance and signed a written consent acknowledging

that the delay will be excluded from any calculation under the Speedy Trial Act. Doc. 24-1. The

United States does not object to the motion.

       There is good cause to continue the trial, and “the ends of justice served by taking such action

outweigh the best interest of the public and the defendant in a speedy trial” pursuant to 18 U.S.C. §

3161(h)(7)(A). See United States v. Lucas, 499 F.3d 769, 782-83 (8th Cir. 2007); United States v.

Hohn, 8 F.3d 1301, 1305 (8th Cir. 1993); United States v. Driver, 945 F.2d 1410, 1414 (8th Cir.

1991). So, the Court GRANTS the motion (Doc. 24). Trial will be reset to Tuesday, February 25,

2025, at 9:30 a.m. in Fargo. A three (3) day trial is anticipated. All time elapsing from the date of this

order until trial shall be excluded from any Speedy Trial Act calculation. See 18 U.S.C. §

3161(h)(7)(A) and 18 U.S.C. § 3161(h)(7)(B)(i) and (iv).

       IT IS SO ORDERED.

       Dated this 26th day of August, 2024.

                                                       /s/ Peter D. Welte
                                                       Peter D. Welte, Chief Judge
                                                       United States District Court
